
2 N.Y.2d 968 (1957)
The People of the State of New York, Respondent,
v.
George Adler, Appellant.
Court of Appeals of the State of New York.
Argued March 7, 1957.
Decided April 4, 1957.
George J. Rudnick for appellant.
Frank S. Hogan, District Attorney (William Rand, Jr., and Charles W. Manning of counsel), for respondent.
Concur: CONWAY, Ch. J., DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE, JJ.
Judgments reversed and the information dismissed upon the ground that the guilt of defendant was not established beyond a reasonable doubt. No opinion.
